 

a Case: 1:12-cv-07115 Document #: 1 Filed: 09/06/12 Page 1 of 23 PagelD #:1

RECEIVED #"

SEP = & 2012

IN THE UNITED STATE DISTRICT NORTHERN DISTRICT OF ILLINOIS

FIRST JUDICIAL DISTRICT

EZZARD HOWARD,
Plaintiff,

v
HAROLD WASHINGTON
COLLEGE
CITY COLLEGES OF CHICAGO,
CHERYL L. HYMAN
Chancellor,

Defendant,

THOMAS G. BRUTON
, CLERK, US. DISTRICT COURT

) Amount of Claim
) $3,000,000.00

) Jury Demand

)

)

CIVIL RIGHTS VIOLATION UNDER A TITLE 42 U.S. CODE SECTION 1983
UNDER THE AMERICAN DISABILITY ACT 504, REHABILITATION ACT OF 1973
TITLE 29 U.S. CODE SEC. 794

NOW COMES, PLAINTIFF, EZZARD HOWARD, Pro se ona Title 42 U.S. Code Sec. 1983 et.

Seq. pursuant to code of the civil procedure by Federal Rule of the American Disability Act

504, Rehabilitation Act of 1973, Title 29 U.S. Code Sec. 794 to give notice to the court to file a

civil complaint and moves this Honorable court to grant his complaint against HAROLD

WASHINGTON COLLEGE, and THE CITY COLLEGES OF CHICAGO.

WHEREFORE, In support of his petition plaintiff states as follows:

ASSERTIONS

PLAINTIFF, EZZARD HOWARD, asserts that his constitutional rights were violated by the HAROLD

WASHINGTON COLLEGE 30 E. Lake Street Chicago, ILL 60610 and by THE CITY COLLEGE of

CHICAGO 226 W. Jackson Chicago, ILL. 60606 by:

1) Denying him on appeal access to an education from a (GPA and PACE HOLD) based solely

on a medical impairment which he took days out of school for, which the law also

constitutes as a disability under the Rehabilitation Act Sec. 504 during the
 

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spring semester of 2012.

2) PALINTIFF, EZZARD HOWARD, further states that Defendant, HAROLD WASHINGTON
COLLEGE and THE CITY COLLEGE OF CHICAGO violated his rights to the fifth Amendment
double jeopardy clause by requiring him to file a second appeal for the exact same issue
for the purpose of registration for the fall semester of 2012 which they then denied

based soley on the exact same criteria as the first appeal ( which was for PACE HOLD ).

3) PLAINTIFF, EZ7ARD HOWARD, asserts that he has filed complaints with the HAROLD
WASHINGTON COLLEGE against the English department citing that their grading system
was improper and bias. Complaints were filed with department chair and then with V/P
of College.
HISTORY

During the Fall semester starting from August 18, 2011 until December 12, 2011
Plaintiff, EZZARD HOWARD, attended the Harold Washington College located at 30 E. Lake Street
Chicago, ILL 60606.During the second week of November, 2011 Plaintiff, EZZARD HOWARD,
became ILL suffering from two medical issues, the first was advance arthritis in his knee due to
a prior surgery. It became very hard to make his way around the campus without medication,
the second medical issue was severe abdominal pains.

Plaintiff, EEZARD HOWARD, had no reason why he was experiencing these pains, he
periodically took off days in hopes of feeling better, however, his condition remained the same.
Some of plaintiff's professors suggested that he withdraw for the remained of the semester,
after consulting with student services and student advisors he was told to remain in class.

Plaintiff finished the semester with Incomplete grades on December 12, 2011,

on January 05, 2012 Plaintiff, EZZARD HOWARD, went to the Ambulatory Screening Clinic
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at the COOK COUNTY HOSPITTAL, Chicago IL. He was examined by Dr. Greg Papiez would
scheduled him for a biopsy of his prostate, and prescribed Ibuprofen 800 MG, for the arthritis
and pain in abdominal area along with Dazoxzosin which shrinks the prostate allowing the
patient to relieve him self.

Plaintiff, Further states , that he under went a surgical Biopsy on March 21, 2012 and
received his surgical results on April 02, 2012 which he tested positive for Cancer due to blood
levels, and Gleeson levels. All information was relayed to Harold Washington College as
requested to show why days were missed, even after receiving information Harold Washington

College refuse to remove (S.P.A.C.) or ( P.A.C.E.) hold allowing student to registration.

LEGAL ANALYSIS
PLAINTIFF, EZ2ARD HOWARD, argues in his analysis that:

1) Defendant, HAROLD WASHINGTON COLLEGE, and the CITY COLLEGES OF CHICAGO, lacks
jurisdiction to prevent or bar a student or individual from registering or obtaining
Federal Financial Assistance based upon a physical or mental impairment because both
institution receive federal financial assistance from the Federal Government and under

THE REHABILITATION ACT Sec. 504 Which states:

No qualified individual with a disability in the United States, shall be
excluded
From, denied the benefits of, or be subject to discrimination under any
program or activity that either receives federal financial assistance or is
conducted by any executive agency or U.S. Postal service.

PLAINTIFF, FUTHERMORE, States that under Section 902 DIFINITION OF THE TERM

DISABILITY of the AMERICAN DISABILITY ACT plaintiff disability is clearly defined

under Sec. 902.5 Mitigating Measures which states:
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The determination of whether a condition constitutes an impairment must be made
without regards to mitigating measures. 29 C.F.R. pt.1630 app Sec. 1630 2(h). The
availability of reasonable accommodation or auxiliary aids such as hearing aids to alleviate
the effects of a condition has no bearing on whether the condition is an impairment. It is
the scope or perceived scope of the condition itself, not it’s origin or capacity for being
corrected, that determines whether a particular condition is an impairment. Further the
extent to which the impairment limits the individual’s major life activities should be
assessed without regards to availability of mitigating measures. 29 C.F.R. pt. 1630 app.
Sec. 1630. 2().

Plaintiff, EZZARD HOWARD, asserts that the Harold Washington College, and the City
Colleges of Chicago grossly violated his right to due process by taking away his right to an
education. Plaintiff would ask that this Honorable court rule in his favor and find them
liable and award him punitive and compensatory damages and any and all other damages
as this Honorable court deems proper.

Plaintiff thanks this Honorable court.

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CL BAINTIFF, EZZARD HOWARD
 

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PLAINTIFF STATES THAT ALL STATEMENTS ARE TRUE AND CORRECT TO THE BEST OF HIS KNOWLEDGE

SWON/TO BEFORE ME rus DAY OF Qh Og] ,2012

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PARES V DARA
3 “OFFIC iAL S ‘ S

CABAL 8 BARBARA J. SHEPARD §

=» Notary Puolic, State of illinois  &

AFFIANT § My Commis: Repires » Bec. AZ, 2012 3

PME

 

 

 
 

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Courtney M. P. Hollowell, M.D., FACS

Chairman,

Division of Urology

Department of Surgery

Cook County Health & Hospitals System:
Stroger Hospital of Cook County
Provident Hospital of Cook County
Oak Forest Hospital of Cook County

Cermak Health Services of Cook County
Cook County Department of Public Health

Juanita Sanders
Assistant to the Chairman
Residency Program Coordinator

Traci P. Beck, M.D.
Director, Female Urology
Voiding Dysfunction

John R. Canning, M.D.
Administrative Chief,
Provident Hospital

Rogelio G. Failma, M.D., SC
Attending Urologist
Provident Hospital

John T. B. Houston, M.D.
Director, Pediatric Urology

Khursheed A, Mallick, M.D.
Attending Urologist
Oak Forest Hospital

Patricia P. Vidal, M.D.
Residency Program Director
Administrative Chief,

Cermak Urology Health Services

Mark A. Wille, M.D.

Attending Lroloziat

Marin Sekosan, M.D.
Urologic Pathology

Patrick Guinan, M.D.
Basic Science Urology Research

Marvin Rubenstein, PhD
Basic Science Urology Research

Ruth G. Alunen, RN, BSN
GU Out-Patient Surgery

Jasmin Cleofe, RN
GU Out-Patient Surgery

Jane A. Lange, MS, APRN, BC
APN/Nurse Practitioner

Farhana Uddin, PA-C, MS
GU Out-Patient Surgery

Willa Williamson, MS, APRN, BC
APN/Nurse Practitioner

 

Date:

Dear

COOK COUNTY HEALTH DIVISION OF UROLOGY
& HOSPITALS SYSTEM DEPARTMENT OF SURGERY

HS

1900 West Polk, Suite 465
Chicago, Illinois 60612
Office: (312) 864-5233 Office Fax: (312) 864-9638

Ue B-[o-
Yaar « Houror A Exzanrol

Enclosed is a copy of your Prostate Biopsy results. To discuss the results
with your physician, please come to the scheduled appointment given on
the day you had your biopsy. If you are unable to make your appointment,
please call (312) 864-5221.

Sincerely,

   
  

Courtney M. P. Hollowell, M.D., FACS

Chairman of Urology
Cook County Health & Hospitals System

We Bring HealthCARE to Your Community

 
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Surgical HOWARD, EZZARD - 004136211c
* Final Report *

Result Type: Surgical

Result Date: March 21, 2012 09:05

Result Status: Auth (Verified)

Result Title: SURGICAL

Encounter info: 0713155216, Stroger, Clinic Outpatient, 3/21/2012 - 3/21/2012

* Final Report *

SURGICAL

HOWARD, EZZARD

DOB: 10/04/1962 49 YM

MR#: 4136211 / Pt#: C713155216
Attend: PATRICIA VIDAL

Ord: PATRICIA VIDAL

SURGICAL PATHOLOGY REPORT
Case#: CSP-12-5487

Diagnosis:

A. "Prostate, needle biopsy, left base":
Prostatic adenocarcinoma, Gleason score (3 + 3 = 6) involving less than
5% of one of two tissue cores. ,

B. "Prostate, needle biopsy, left lateral":
Benign prostate tissue.

C. "Prostate, needle biopsy, left apex":
Prostatic adenocarcinoma, Gleason score (3 + 3 = 6), involving 10% of
all of the tissue fragments.

D. "Prostate, needle biopsy, right base":
Benign prostate tissue.

E. "Prostate, needle biopsy, right lateral”:
Benign prostate tissue with focal glandular atrophy.

F. "Prostate, needle biopsy, right apex":
Benign prostate tissue with glandular atrophy and chronic inflammation.

Printed by: ALUNEN, RUTH Page 1 of 4
Printed on: 4/2/2012 14:25 (Continued)

 

 
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Surgical HOWARD, EZZARD - 004136211c

* Final Report *

Note: Immunohistochemical studies utilizing a PIN4 cocktail (P504
racemase, p63, high molecular weight cytokeratin 34BE12) were performed
onA, B, C, D, E, and F. In C, the immunostains (which demonstrate the
absence of basal cells within the atypical glands), confirm the

malignancy. In A, the atypical focus is not present in the section on

which the immunostain (PIN4) was performed. In B, D, E, and F, basal
cells are highlighted by the immunostains. Additional levels were also
reviewed.

The immunohistochemical tests were performed at Alverno Laboratory. At
Stroger Hospital, these immunohistochemical studies are interpreted

after a review of a negative control for the case and the antibody and a
positive control appropriate for each antibody.

Signed Out/Reported:03/30/2012
Pathologist: KAREN FERRER MD, PATHOLOGIST

Microscopic Description : All sections have been examined. The
histological findings have been summarized in the final diagnosis
above.

IDC: Marin Sekosan, MD

Clinical Info/Hx: A 49-YEAR-OLD BLACK MALE, PSA=5.26.

PREOPERATIVE/POSTOPERATIVE DIAGNOSIS: ELEVATED PSA/NEGATIVE DRE.

Specimen(s) Submitted:

(A) PROSTATE, NEEDLE BIOPSY , LEFT BASE

(B) PROSTATE, NEEDLE BIOPSY , LEFT LATERAL
(C) PROSTATE, NEEDLE BIOPSY , LEFT APEX

(D) PROSTATE, NEEDLE BIOPSY , RIGHT BASE

(E) PROSTATE, NEEDLE BIOPSY , RIGHT LATERAL
(F) PROSTATE, NEEDLE BIOPSY , RIGHT APEX

Printed by: ALUNEN, RUTH Page 2 of 4
Printed on: 4/2/2012 14:25 (Continued)

 

 

 
 

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Surgical HOWARD, EZZARD - 004136211¢c

* Final Report *

Gross Description

All specimens are received in a container labeled with the patient's
name and medical record number.

A) Specimen labeled "LEFT BASE" is received in formalin and consists of
two cores of tissue, measuring 0.6 and 1.2 cm in length, less than 0.1
cm in diameier. The entire specimen is submitted in cassette Ai.

B) Specimen labeled "LEFT LATERAL" is received in formalin and consists
of two cores of tissue, measuring 1.2 and 1.4 cm in length, less than
0.1 cm in diameter. The entire specimen is submitted in cassette B1.

C) Specimen labeled "LEFT APEX" is received in formalin and consists of
two cores of tissue, measuring 1.1 and 1.4 cm in length, less than 0.1
cm in diameter. The entire specimen is submitted in cassette C1.

D) Specimen labeled "RIGHT BASE" is received in formalin and consists
of two cores of tissue, measuring 0.6 and 1.4 cm in length, less than
0.1 cm in diameter. The entire specimen is submitted in cassette D1.

E) Specimen labeled "RIGHT LATERAL" is received in formalin and
consists of two cores of tissue, measuring 0.9 and 1.3 cm in lenath,
less than 0.1 cm in diameter. The entire specimen is submitted in
cassette E1.

F) Specimen labeled "RIGHT APEX" is received in formalin and consists
of two cores of tissue, measuring 0.7 and 1.1 cm in length, less than
0.1 cm in diameter. The entire specimen is submitted in cassette F1.

(SS)

Printed by: ALUNEN, RUTH Page 3 of 4
Printed on: 4/2/2012 14:25 (Continued)

 
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Surgical HOWARD, EZZARD - 004136211c

* Final Report *

Electronically Signed: 03/30/2012
KAREN FERRER MD, PATHOLOGIST

The attending pathologist whose signature appears on this report has
reviewed the diagnostic slides and has edited
the gross and/or microscopic portion of the report in rendering the
final diagnosis.

Completed Action List:
* Order by VIDAL, PATRICIA on March 21, 2012 09:05

Printed by: ALUNEN, RUTH
Printed on: 4/2/2012 14:25

Page 4 of 4
(End of Report)

 

 
 

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HOWARD, EZZARD - 004136211c

Same Day Surgery

* Final Report *

Result Type: Same Day Surgery

Result Date: July 05, 2012 15:40

Result Status: Auth (Verified)

Performed By: WALKER RN, YOLANDA on July 05, 2012 15:45

Verified By: WALKER RN, YOLANDA on July 05, 2012 15:45

Encounter info: 9716787783, ACHN, Clinic Outpatient, 7/5/2012 -
* Final Report *

SAME DAY SURGERY PRE-OP/POST-OP MEDICATION RECONCILIATION

Allergies: none

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Home Medicat'ons/Dose’Route/Frequency/Time Last dose | Continue | Stop date | Continue | Sta
(Include Herba/OTC/Vitamins/ All Medications) taken Pre-op pre op sab
?=unkn anddayof|

Name/dose/ruite/fregu one v/duration surgery
ibuprofen 800mg oral every day F/S/AZ no 7/23/12
cardura 2 mg oral daily 7/4/12 yes

nformatiz: ebtain -4 from: Patient/Family Bottles/List Old Records MD
| Records Pharmacy Other:
NEW MEDICATIONS ORDERED | PURPOSE of START ,
AT DISCHARGE ; BAS ORG,
Signature {ne

Printed by: WALKER RN, YOLANDA
Printed on: TIBIZII2 15:45

Page 1 of 2
(Continued)

 
 

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Urology Outpt HOWARD, EZZARD - 004136211c

* Final Report *

Result Type: Urology Outpt
Result Date: July 05, 2012 13:25
Result Status: Auth (Verified)
Result Title: GU
Performed By: WILLIAMSON CNP, WILLA on July 05, 2012 13:28
Verified By: WILLIAMSON CNP, WILLA on July 05, 2012 13:46
Encounter info: 0716787783, ACHN, Clinic Outpatient, 7/5/2012 -
* Final Report *
GU
Patient! HOWARD, EZZARD MRN: 004136211c FIN: 0716787783

Age: 49years Sex: Male DOB: 10/4/1962
Associated Diagnoses: None
Author: WILLIAMSON CNP, WILLA

Subjective
Chief complaint 49 year old male with history of prostate cancer cTlc, GS6 here today to schedule surgery.
Denies LUTS on cardura with improvement noted..

Health Status
Allergies: .
No inactive allergies have been recorded.
Current medications: (Selected).
Prescriptions
Ordered
Metamucil 3.4 gm/5.2 gm oral powder for reconstitution: See Instructions, add 1 tsp of powder to
any liquid BID, 400 GM
doxazosin: 1 MG, 1 TAB, PO, Daily, 30 TAB
ibuprofen 800 mg oral tablet: 800 MG, 1 TAB, PO, TID, 30 TAB, PRN: for pain
senna-docusate 8.6 mg-50 mg oral tablet: 1 TAB, PO, Daily, 100 TAB, PRN: Constipation
Problem list: .
All Problems
Adenocarcinoma of prostate / 185 / Confirmed
Benign prostatic hypertrophy NOS / 600.00 / Confirmed

Objective
General: Alert and oriented.

Printed by: WILLIAMSON CNP, WILLA Page 1 of 2
Printed on: 7/3/2012 13:48 (Continued)

 
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Urology Outpt

* Final Report *

Respiratory: Respirations are non-labored.
Cardiovascular: Normal rate, Regular rhythm.
Gastrointestinal: Soft, Non-tender, Non-distended.
Integumentary: Intact.

Psychiatric: Cooperative, Appropriate mood & affect.

Impression and Plan
Assessment and Plan:
Diagnosis: CA of prostate : ICD9 185, Working, Medical.
Orders
RRP on 7/30/2012 with Dr Vidal..

Signature Line

Electronically Authored On: 05-Jul-12 13:46
Electronically Signed By: WILLIAMSON CNP, WILLA
SH - Urology - APN

Pager/Bus: 312 864 5220

Completed Action List:

* Perform by WILLIAMSON CNP, WILLA on July 05, 2012 13:28
* Modify by WILLIAMSON CNP, WILLA on July 05, 2012 13:44

* Modify by WILLIAMSON CNP, WILLA on July 05, 2012 13:46

* Sign by WILLIAMSON CNP, WILLA on July 05, 2012 13:46
“VERIFY by WILLIAMSON CNP, WILLA on July 05, 2012 13:46

Printed by: WILLIAMSON CNP, WILLA
Printed on: 7/5/2012 13:48

HOWARD, EZZARD - 004136211c

Page 2 of 2
(End of Report)

 

 
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_ at Siroger, i. Hospital GENERAL CONSENT —
SURGERY, ANESTHESIA, BLOOD TRANSFUSION
Date: Time: am/pm
Yes [] No |, , do hereby authorize and consent to the

 

performance upon myself, or the patient for whom | am guardian, of the
Surgical procedure described to me as follows: « ;
Radical VRehopubrc Aorn0 Bal! plc
i ~ 4 .
Yes [1 No SURGERY: | have been advised that major risks involved in the above
surgical procedures are_ icro/ ac, Nam, Peon, Cree L aa

QorroL tis , Cervense @ [O20 of upine contol fevertions | Peduti ret

a alosthaadatss, Mex) cla
Yes [J] No Ihave advised of the following existing alternatives in treatment or

surgical procedures (rol: WaGENO?

 

 

Hn [CJ No | understand that the above described procedure is to be performed by:
Dr____Uto” and/or

f | Dr. Ou Su

or Yes [J No _ [hereby consent to the admission of observers to the operating room for the
‘ purpose of advancing medicai education.

ves [1 No ANESTHESIA: | have been advised that anesthesia may be necessary and do
hereby consent to the administration of such anesthesia: general, regional, or
local, by, or under the supervision of
Dr. and consent to the use of such
(Attghding Anesthesiologist)
anesthetics as he may deem advisable under the circumstances with the
a exception of nt (If None, so state)

Yes [J No BLOOD TRANSFUSION: | authorize the administration of such transfusion or
transfusions of whole blood or blood products to the above patient as may be
deemed advisable in the judgment of the patient's attending physician, his
associates or assistants.

| understand and agree that no guarantee or warranty (including the implied
warranties of merchantability and fitness) applies to the blood or blood products,
which may be supplied to this patient.

A | accept (on behalf of this patient) all of the risks referred to above.
Yes [] No_ TESTING AND DISPOSAL OF TISSUE: | hereby consent to the examination,

testing or disposal of any tissue or parts, including their use for research purposes,
which may be removed, in such manner as may be determined by the hospital, its

employees or agents.

ves [] No PHOTOGRAPHY: | hereby consent to the photographing or televising of the
operations or procedures to be performed, and the use of such film or tapes for
the ji of advancing medical education.

 

nia i LEIA OO A
Dian | yion oo
Signature of Doctor Who discussed the procedures

. : ARD, EZZARD
listed above with patient or guardian. CK etnm HOW .E 07/05/12
Pi g DOB-10/04/62 Age-49 Y FCSelf Pay. ot ,

rm fc en ret

 

 
~ Case: 1:12-cv-07115 Document #: 1 Filed: 09/06/12 Page 15 of 23 PagelD #:15

 

 

 

 

John H. Stroger, Ir. Hospital of Cook County

Cook County Bureau of Health Servi icesaa

_ Education Clinic C 1(English)

PRE-ADMISSION TESTING

Welcome to Clinic C Pre-Admission Testing, You are in this Clinic today to _
complete a series of brief tests and interviews that are required before surgery. Please
do not leave the Clinic area until all items are completed. 7
Failure to complete required to. Pre-Operative teats may cause e your surgery to be
delayed. Bo,

 
   

- ‘Thank you for.your cooperation.

CHECK OF F THE FOLLOWING WHEN IT 1S COMPLETED

  
  
    

 

 
 

_
i CL Anesthesiology Interview (If Needed) - oe staff initial, ae
Nv Pre-Registration. § Staffinitial SQ
= Fated Te Interview. oo oe staff initia
Blood Tests /pink line] . staff. initial S SZ
EKG (Electrocardiogram) (if Needed)/green line] - staff initial S7,
_Nursing Interview / Education / Instruction. ~ staffinitial
Nursing Review of Completed Orders __ staff initial Yu
____ Chest X-Ray (located on the second floor/Clinic M) staff initial SHA

(Nurse may see you for the second time to confirm all tests were completed)

_ We may not follow the above items according to its sequence ‘order to facilitate the .
process and reduce waiting time. Please check off each above item When it is done.

You may be required to complete the following in addition to the items listed shove
___: Medical Consultation (In this Clinic on a future day) DATE:_ A/

CK Pim HOWARD, EZZARD
DOB- 17ri4et eee Y FCSelf Pay
STAR InT C Same DMR#413621 1

aa

 

 

 
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- John H. Stroger, Jr. Hospital of Cook County ~

Cook ita) Bureau of Health Services

    

Sunline she

: Educacion Clinica C 2(Espaitol)

 

Por favor lea los i los instracciones

—ANALISIS DE PRE-INGRESO _

 

 

 

 

Bienvenido ala Clinica C - Analisis de Pre-Ingreso. Usted se encuentra hoy en
esta Clinica para completer una serie de pruebas breves y entrevistas que se
requeéridos:antes de la cirugia: Favorde no salir del area de- la Clinica hasta que

haya terminado con toda la lista.

Al no completar los andlisis Pre-Operativos requeridos puede causar que se

cirugia sea retrasada.
Gracias por su cooperacién

- bia

ovens Por favor revise si todos los examenes estan complete

staff initial -

 

 

 

 

~ Entrevista de Anestesiologia *Si es Necesario f initial -
Entrevista Firianciera staffinitial
____Anilisis de Sangre /linea rosa]. staff initial __ tines
-___EKG (Electrocardiograma) * Sies  Necesarto staff initial “ss pe
oxen se Enti'eViSta- COM uninicnoneen nineteen seonsooaatn
~~ | Enfermeria/Edueacién/Introduccion | | staff initial _
—~-«- ___-_Rayos-X del Pecho_ | oe
. (Ubicado en el Segundo piso / Clinica M) :
[linea verde] - staff initial
** Entrevista con Enfermeria Para

Revisa Todas las Ordenes | staff initial | sine

facilitar el proceso y reducer ef tempo de esper espera.

“Nosotros no puede seguir Ic los elementos anteriores de acuerdo a a su orden de la secuencia para

 

venetian ROT, FaVOr indique cuando. a terminado cada-sérvicio..

1

mencionados.

Puede que sea necesario para completar el si guiente. ademas de los elementos arriba

____Consulta Medica (En esta Clinica para otro dia en el futuro).

 
—seee ee eee eee ee

if Sook County cason 40612 -cv-

ID# 4136211 DOB: 10/04/1962

_HOWARD,EZZARD Rx# F6390566 01/05/2012
+: PAPIEZ,GREG
BUPROFEN TAB 800MG (R} 30EA

BUPROFEN TAB 800MG GENERIC NAME: IBUPROFEN (eye-byoo-PROE-fen)

Cor: RITA/ERF

2OMMON USES: This medicine is a nonsteroidal anti-inflammatory drug
NSAID) used to treat mild to moderate pain, osteoarthritis, and
heumatoid arthritis. It may also be used to treat other conditions as
jetermined by your doctor.

3EFORE USING THIS MEDICINE: WARNING: THE RISK OF

3ERIOUS AND SOMETIMES FATAL HEART PROBLEMS, HEART

\TTACK, AND STROKE may be increased with the use of this i
nedicine. This risk may be increased the longer you use this
nedicine. Risk may also be higher in patients who have heart
woblems or who are at risk for heart problems. THIS MEDICINE
3HOULD NOT BE USED to treat pain before or after coronary artery
1eart bypass (CABG) surgery. THE RISK OF SERIOUS AND
30METIMES FATAL STOMACH AND BOWEL PROBLEMS, including
ileeding, ulcers, and holes in the stomach and bowel, is increased
vhile using this medicine. These problems may occur at any time
luring therapy, with or without symptoms. Elderly patients are at i
ligher risk for serious stomach problems. Ask your doctor or

vharmacist for more information about this medicine and its side effects.
3ome medicines or medical conditions may interact with this medicine.
NFORM YOUR DOCTOR OR PHARMACIST of all prescription and
wer-the-counter medicine that you are taking. DO NOT TAKE THIS
“EDICINE if you are also taking heparins or tacrolimus. ADDITIONAL
AONITORING OF YOUR DOSE OR CONDITION may be needed if you

we taking serotonin reuptake blocker medicines such as fluoxetine or
titalopram, “blood thinners” such as warfarin, bisphosphonates such as
ilendronate or risedronate, cyclosporine, corticosteroids such as
wednisone, high blood pressure medicines (including ACE inhibitors such

's captopril, angiotensin II receptor antagonists such as losartan, and
reta-blockers such as metoprolol), "water pills” (diuretics such as
urosemide, hydrochlorothiazide, triamterene), lithium, methotrexate, or
ispirin. DO NOT START OR STOP ANY MEDICINE without doctor or
iharmacist approval. Inform your doctor of any other medical

‘onditions including poorly controlled diabetes, dehydration, heart problems
such as heart failure or history of heart attack}, swelling of the

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TAKE 1 TABLET 3 TIMES A DAY WHEN NEEDED FOR PAIN WITH FOOD

hands, feet, or ankles (edema), high blood pressure, history of

stroke, blood clotting problems, stomach or bowel problems (such as
bleeding or ulcers), history of tobacco use or alcohol use, kidney
problems, liver problems, blood or bleeding problems (such as anemia),
asthma, growths in the nose (nasal polyps}, any allergies (especially
history of angioedema with symptoms of lip, tongue, throat swelling),
pregnancy, or breast-feeding. USE OF THIS MEDICINE IS NOT
RECOMMENDED if you have a history of allergy to aspirin or other
NSAIDs (e.g., naproxen, celecoxib). USE OF THIS MEDICINE IS

NOT RECOMMENDED if you have history of severe kidney disease or if
you are going to have or have recently had coronary artery heart
bypass (CABG) surgery. Contact your doctor or pharmacist if you have
any questions or concerns about taking this medicine.

HOW TO USE THIS MEDICINE: Follow the directions for using this
medicine provided by your doctor. This medicine may come with a
medication guide. Read it carefully. Ask your doctor, nurse, or
pharmacist any questions that you may have about this medicine. TAKE
THIS MEDICINE with a full glass (8 oz./240 mi) of water. DO NOT

lie down for 30 minutes after taking this medicine. The dosage is based
on your medical condition and response to therapy. If repeat doses

are needed, they are usually given 6 or 8 hours apart, or as directed

by your doctor. When used in children, the dose is based on your
child's weight. Read the product instructions to find the appropriate
dose for your child's weight. Consult the pharmacist or doctor if you
have questions or if you need help in choosing the appropriate dosage‘
form. THIS MEDICINE MAY BE TAKEN WITH FOOD if it upsets your
stomach. Taking it with food may not decrease the risk of stomach or
bowel problems (such as bleeding or ulcers) that may occur while
taking this medicine. Talk with your doctor or pharmacist if you
experience persistent stomach upset. STORE THIS MEDICINE at room
te rature, away from heat and light. Do not store in t throom.
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Ambulatory & Community Ambulatory &
Health Network of Cook County

CNL DE SET ee
ACHN Progress Notes

    

 

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S = subjective ee ae ee
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A = Assessment CK Pin HOWARD, EZZARD

DOB-1 0/04/62 Age-4s y FC-Self Pa

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White - ORIGINAL CHART COPY = Yellow- REFERRING PROVIDER COPY Pink - PATIENT COPY

 

 
Case: 1:12-cv-07115 Document #: 1 Filed: 09/06/12 Page 19 of 23 Page|D #:19

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Sede ACHN Progress Notes

 

 

@ (_] Medication List Reconciled

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oO = Subjective

e O = otjective EE ee

AECUNS 661

 

A = Assessment

P - Pian 08 oa WARD, € EZZARD

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OUTPATIENT PHYSICIANS' LAB ORDER REQUEST

LABS WILL NOT BE DONE WITHOUT ATTENDING NAME ale ICD 9 CODES BQ,
or ‘ :

Name: (Last/First): ATTENDING NAME REQUIRED (PRINT):

7 Case: 1:12-cv-07115 Document #: 1 Filed: 09/06/12 Page 20 of 23 lite Be fo

 

    
 
  
   
  

  

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008 0042 Aagenaoy FEZARD

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giCD-9 copKgS REQUIRED OR CAN INDICATE ON REVERSE SIDE:
er 1
LAB ONLY FIN#: |
* Indicates tests performed STAT I
Tube Type: R= Red L = Lavender G=Green B=Blue JOUTPATIENT LAB HOURS: Mon - Fri 7:00 AM to 6:00 PM Stroger Campus |
Check box to order Must indicate test priority: R= Routine T=Timed S = Stat Collection Time
CHEMISTRY MICROBIOLOGY HEMATOLOGY
asic Metabolic Panel: R eunure, ot pyrene |
Glu, BUN, Creat, Na, K, Cl, CO2, Ca ure, Urine *CBC and Differential L
[__]Comprehensive Metabolic Panel: Be u - fi Reticulocyte E
Na, K, Cl, CO2, Albumin, AST, ALT, Bun, Creat, Ca Culture, Stool |_| Manual Platelet Count __
Tot. Bilirubin, Alk. Phos., Tot. Protein, GLU Group B Strep Screen Sickle cell g
Renal Panel: [R (Vaginal- Pregnant women) P_JESR Fis |
Na, K, Cl, CO2, Glu, BUN, Creat, Ca, Phos, ALB. Culture, Genital (includes GC): PT 8
Liver Profile: Tot. Prot, Alb, Chol, T. Bili., Alk. Phos Ry Ureth___Vag__ | PTT B
Liver Enzymes: ALT, AST, LDH GC treatment given? INR (Pt on Coumadin)
Lipid Profile (patient should fast for 12-14 hrs) IR] Yes--- No--- Unknown---- | | Bleeding Time (In Vivo)
TG, Chol, HDL, LDL, HDL ratio Culture, Mycology | |G-6-PD tL
Hgb AIC E Culture, Sputum |_| Hemoglobin Electrophoresis] L
Creatine Kinase (CK) R Culture, Mycobacterium: Spec/Source Body Fluid Cell Count i
Beta HCG Quant R Culture Wound Specify Fluid type
*BUN rR | Wound: Site
Creatinine R Culture, Anaerobe rj} von Willebrand Profile Bo
“Fasting Blood Sugar rR | Spec: Site: PT IMMUNOLOGY
Gestational GTT (thr) R Ova & Parasite, Stool ra Haptoglobin FR
*Glucose Tolerance (3 hr) R Cryptococcal Antigen (Red top tube) |_| Ceruloplasmin rR
Magnesium R GC/Chlamydia Direct C3 R
Lipase ; R Clostridium difficile (Stool) ;_}C4 rR
Lead (Please fill out child's info) G Other Micro Tests: Immunoglobulins , R
Uric Acid R | |Serum, Quant rR |
Red cell Folate (Whole Blood) i: y_|Cryoglobulin (37°C) R
Ferritin rR Ly Rheumatoid Factor rR
Vitamin D, 25 Hydroxy R . Free fey IANA rR
Vit B 12 R T3, Free R Heterophile Antibodies R
= TSH RR RPR R
“Urinalysis in a CUP Thyroglobulin Antibody R CRP High Sensitivity rR
| Urinalysis w/ microscopic (CUP) Alpha Fetoprotein (AFP) R TOXICOLOGY
| *Pregnancy (Urine) CA-125 R rug Screen, Urine: rR |
|__| Total Protein, Urine, Random in a CUP CA19-9 Re Amphetamines, Barbiturate
_ |Creatinine, Urine, Random CEA rR Benzotiozepine, Cocaine,
| Microalbumin PSA, Screening rR Ethyl alcohol, Methadone
|__|Urine Electrolytes SA, Diagnos R Opiates, PCP
Urine Phosphorus R Propoxyphen, Cannabinoid
| [Albumin/Creatinine Ratio LH R Phenytoin rR
Prolactin R Digoxin R
Hepatitis Profile Acute: Testosterone, Total R Carbamazephine R
|__JHBsAg, HBcigM, Anti-HAV IgM, HCV Estradiol R :
|__|HIV 1/2 Antibody Screen R Progesterone R
Rubella Antibody Immune Status R Cortisol, Serum Random FR |
Varicella Ab Immune Status R PTH (On ice) a
Hepatitis B Surface Ag (Perinaial Hep B Screen) R Metanephrine, Plasma On Ice R
Hepatits Immune Status: HBsAg, Anti HBsAg R BLOOD BANK
rT] Hepatitis C Virus Antibody Perinatal

 

 

 

 

 

Direct Coombs
Form#1542REV02/2009 ABO/Rh

 

 

 

 

 

 

 

 

 
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288.6 Leukocytosis, unspecified
272.5 Lipoprotein deficiency -
783.21 Loss of weight
174.9 Malignant neoplasm of breast (female), unspecified site
194.8 Malignant neoplasm of other endocrine glands & related
185 Malignant Neoplasm of prostate
263 Malnutrition of moderate degree
622.11 Mild dysplasia of cervix
632 Missed abortion
272.2 Mixed hyperlipidemia
622.12 Moderate dysplasia of cervix
278.01 Morbid obesity
728.87 Muscle weakness (generalized)
238.79 Neoplasm of uncertain behavior of other lymphatic and
hematopoietic tissues
236.5 Neoplasm of uncertain behavior of prostate
581-581.9 Nephrotic Syndrome
288 Neutropenia , unspecified
788.43 Nocturia
305.1 Nondependent tobacco use disorder
795.08 Nonspecific abnormal papanicolaou smear of cervix
unsatisfactory smear
795.1 Nonspecific abnormal papanicolaou smear of other site
794.8 Nonspecific abnormal results of liver function study
241- 241.9 Nontoxic nodular goiter
790.4 Nonspecific elevation of levels of transaminase or LDH
278 Obesity
790.6 Other abnormal blood chemistry
796.4 Other abnormal clinical finding
795.09 Other abnormal Papanicolaou smear of cervix and cervical HPV
286.9 Other and unspecified coagulation defects
272.4 Other and unspecified hyperlipidemia
576-576.9 Other disorders of Biliary tract
246-246.9 Other disorders of the thyroid
626.8 Other disorder of menstruation and abnormal bleeding from

789.00 Abdominal pain, unspecified site
796.50 Abdominal finding on antenatal screening
795.00 Abnormal glandular Papanicolaou smear of the cervix
626.00 Absence of menstruation
648.8. Abnormal glucose tolerance complicating pregnancy, childbirth
790.21-790.29 Abnormal glucose tolerance test
794.8 Abnormal Liver Function Study
783.21 Abnormal loss of weight
783.1 Abnormal weight gain
244-244.9 Acquired hypothyroidism
070.51 Acute hepatitis C without mention of hepatic coma
410-410.92 Acute myocardial infarction
577 Acute pancreatitis
285.1 Acute post hemorrhagic anemia
303.9-303.92 Alcoholism
413-413.9 Angina pectoris
783 Anorexia
440-440.9 Arteriosclerosis
571.42 Autoimmune hepatitis
220 Benign neoplasm of ovary
112.2 Candidacies of other urogential sites
112.1 Candidacies of vulva and vagina
234.8 Carcinoma in situ of other unspecified sites
223.4 Carcinoma in situ, prostate
655.03 Central nervous system malformation in fetus,
ante partum condition or complication
795.05 Cervical high risk human papillomavirus (HPV) DNA
test positive
616.0 Cervicitis and endocervicitis
655.13 Chromosomal abnormality in fetus, affecting mgmt of mother
414.9 Chronic ischemic heart disease, unspecified
070.54 Chronic hepatitis C without mention of hepatic coma
585.4-585.9 Chronic kidney disease
204.1 Chronic lymphoid leukemia without mention of remission
571.0 - §71.9 Chronic liver disease and cirrhosis
577.1 Chronic pancreatitis female genital tract
571.5 Cirrhosis of liver without mention of alcohol 655.83 Other known or suspected fetal abnormality, not elsewhere
414-414.07 Coronary atherosclerosis , classified, affecting management of mother, ante partum
311 Depressive disorder, not elsewhere classified condition or complication
250 Diabetetes mellitus without mention of complication, 780.79 Other malaise and fatigue
type I! or unspecified type, not stated as uncontrolled 202.8 Other malignant lymphomas, unspecified site, extra nodal and
250-250.93 Diabetes mellitus and various related codes solid organ sites
_ 648 Diabetes mellitus complicating pregnancy childbirth 790.5 Other nonspecific abnormal serum enzyme levels
787.91 Diarrhea 327.29 Other organic sleep apnea
733.9 Disorder of bone and cartilage, unspecified 415.19 Other pulmonary embolism and infarction
626-626.2 Disorders of menstruation 767.8 Other specified birth trauma
242-245.9 Disorders of the thyroid gland with hormonal dysfunction 646.83 Other specified complications of pregnancy, ante partum
625.3 Dysmenorrhea condition or complication
622.1 Dysplasia of cervix, unspecified 288.8 Other specified disease of white blood cells
782.3 Edema 251.1 Other specified hypoglycemia
659.63 Elderly multigravida, with ante partum condition or complication 281.1 Other Vitamin B 12 Deficiency Anemia, NEC
659.53 Elderly primigravida, ante partum condition or complication 577-577.9 Pancreatic disease
790.93 Elevated prostate specific antigen (PSA) 281 Pernicious anemia
785.6 Enlargement of lymph nodes 962.3 Poisoning by insulin and antidiabetic agents
530.81 Esophageal reflux 271.4 Renal glycosuria
401-401.9 Essential hypertension 788.2 Retention of urine, unspecified
626.2 Excessive or frequent menstruation 249-249.91 Secondary diabetes mellitus
628.9 Female infertility of unspecified origin 249.4-249.41 Secondary diabetes mellitus with renal manifestations
629.81 Habitual aborter without current pregnancy 788.62 Slowing of urinary stream
646.33 Habitual aborter, ante partum condition or complication 788.65 Straining on urination
784 Headache 780.2 Syncope and collapse
429.2 Heart disease, unspecified 245-245.9 Thyroiditis
428-428.9 Heart failure 242-242.9 Thyrotoxicosis with or without goiter
599.7 Hematuria 602.9 Unspecified Disorder of prostate
569.3 Hemorrhage of rectum and anus 601.9 Unspecified prostatitis
042 Human Immunodeficiency virus (HIV) disease 269.2 Unspecified vitamin deficiency
079.4 Human papilloma virus in conditions classified elsewhere 788.63 Urgency of urination
403-403.91 Hypertensive chronic kidney disease 788.41 Urinary frequency
404-404.93 Hypertensive heart and chronic kidney disease 788.64 Urinary hesitancy
402-402.91 Hypertensive heart disease 788.3 Urinary incontinence, unspecified
788.21 Incomplete bladder emptying
327-327.09 Insomnia
579-579.9 Intestinal Malabsorption
280.9 Iron deficiency anemia, unspecified
626.4 Irregular menstrual cycle
782.4 Jaundice, unspecified, not of newborn

 

 

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V58.2 Transfusion of blood products
V58.61 Long term (current) use of anticoagulants
V58.63 Long term (current) drug use
V58.69 Long term current use of other medications

 

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AMBULATORY COMMUNITY HEALTH NETWORK A One

RETURN TO WORK/SCHOOL VERIFICATION

Sogn HOWARD, EZZARD
Patient Name ii iki iting Y wii 06/05/12 ————-~ DATE: G Is / /L
1

Unit Number —

 

TO WHOM IT MAY CONCERN:

The above named person:

(was treated at 4) SC BU | ls | pe

0 was ill and unable to work from: to

states he/she was ill and unable to work from: thru

 

Oo
O may return to work/school on:
Oo

may resume work on: with restrictions as follows:

 

 

O may resume schoo! on with the following restrictions:

 

 

 

 

 

DIAGNOSIS facatote Orletro Cyy Cabot =
Physician Signature a7 iS > /
Print Name Le foal TZZ._ Pager No BPY32zTF

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GRAPHICS

Prostate gland

 

Bladder 4.

Vas
deferens

Pabic

Urethra
deferens

Seminal
vesicle

Penis

Festicle : 7 j . | EP €

   
  

heres

This drawing shows the le anatomy and a close-up of the Peosta

Men ©
3

gland.

: Creches

http://www.uptodate.com/contents/prostate-cancer-treatment-stage-i-to-iii-cancer-beyond-t... 6/14/2012
